Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 1 of 12




                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF COLORADO

                                                     CASE:

   CARLOS BRITO,

                Plaintiff,
   v.

   WETHERLY INVESTMENTS, LLC
   D/B/A CROSSROADS AT CITADEL,

           Defendant.
   ________________________________________________/

                                                COMPLAINT

           Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

   mobility-impaired individuals (hereinafter “Plaintiff”), sues, WETHERLY INVESTMENTS, LLC

   D/B/A CROSSROADS AT CITADEL (hereinafter “Defendant”), and as grounds alleges:

                                  JURISDICTION, PARTIES. AND VENUE

           1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

   litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the "Americans with

   Disabilities Act" or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

           2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

   § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

           3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

   2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

   U.S.C. § 12181, et seq.

           4.           Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, who splits

   his time between Miami-Dade County, Florida and El Paso County, Colorado, and is otherwise

   sui juris.
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 2 of 12




          5.        At all times material, Defendant, WETHERLY INVESTMENTS LLC, was and

   is a California Limited Liability Company, incorporated in the State of Colorado with its principal

   place of business in Beverly Hills, California.

          6.        At all times material, Defendant, WETHERLY INVESTMENTS LLC, owned

   and operated a retail shopping center at 1035 N Academy Blvd Colorado Springs, Colorado 80909

   (hereinafter the “Commercial Property”). The Commercial Property holds itself out to the public

   as “CROSSROADS AT CITADEL”.

          7.        Venue is properly located in the District of Colorado because Defendant’s

   Commercial Property is located in Colorado Springs, Colorado, Defendant regularly conducts

   business within Colorado Springs, Colorado, and because a substantial part(s) of the events or

   omissions giving rise to these claims occurred in Colorado Springs, Colorado.

                                      FACTUAL ALLEGATIONS

          8.        Although nearly thirty (30) years have passed since the effective date of Title III

   of the ADA, Defendant has yet to make their facilities accessible to individuals with disabilities.

          9.        Congress provided commercial businesses one and a half years to implement the

   Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

   extensive publicity the ADA has received since 1990, Defendant continues to discriminate against

   people who are disabled in ways that block them from access and use of Defendant’s Commercial

   Property and the businesses therein, including the retail shopping store.

          10.       The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

   requires landlords and tenants to be liable for compliance.

          11.       Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

   pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed



                                                     2
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 3 of 12




   from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

   his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires the

   use of a wheelchair to ambulate.

          12.       Defendant, WETHERLY INVESTMENTS LLC, owns, operates and/or oversees

   the Commercial Property, its general parking lot and parking spots specific to the businesses

   therein, and it owns, operates and oversees said Commercial Property located in Colorado Springs,

   Colorado, that is the subject of this Action.

          13.       The subject Commercial Property is open to the public and is located in Colorado

   Springs, Colorado. The individual Plaintiff visits the Commercial Property regularly, to include a

   visit to the property on or about January 17, 2022 and encountered multiple violations of the ADA

   that directly affected his ability to use and enjoy the Commercial property and the businesses

   located therein. He plans to return to and often visits the Commercial Property and the other

   businesses located within the Commercial Property, in order to avail himself of the goods and

   services offered there, if the property/businesses become accessible.

          14.       Plaintiff,   CARLOS      BRITO,      visited   the   Commercial    Property    as   a

   patron/customer, regularly visits the Commercial Property and business within the Commercial

   Property as a patron/customer, and intends to return to the Commercial Property and businesses

   therein in order to avail himself of the goods and services offered to the public at the property.

   Plaintiff spends much of his time in and near El Paso County, Colorado, in the same state as the

   Commercial Property, has regularly frequented the Defendant’s Commercial Property and

   businesses located within the Commercial Property for the intended purposes, and intends to return

   to the property within four (4) months’ time of the filing of this Complaint.

          15.       The Plaintiff found the Commercial Property to be rife with ADA violations.



                                                     3
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 4 of 12




   The Plaintiff encountered architectural barriers at the Commercial Property and wishes to continue

   his patronage and use of the premises.

          16.       The Plaintiff, CARLOS BRITO, has encountered architectural barriers that are in

   violation of the ADA at the subject Commercial Property and businesses therein. The barriers to

   access at Defendant’s Commercial Property and businesses within the Commercial Property have

   each denied or diminished Plaintiff’s ability to visit the Commercial Property and endangered his

   safety. The barriers to access, which are set forth below, have likewise posed a risk of injury(ies),

   embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others similarly situated.

          17.       Defendant, WETHERLY INVESTMENTS LLC., owns and/or operates, a place

   of public accommodation as defined by the ADA and the regulations implementing the ADA, 28

   CFR 36.201 (a) and 36.104. Defendant is responsible for complying with the obligations of the

   ADA. The place of public accommodation that Defendant, WETHERLY INVESTMENTS LLC

   owns and/or operates is the Commercial Property located at 1035 N Academy Blvd Colorado

   Springs, Colorado 80909.

          18.       Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing

   threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

   described Commercial Property and the restaurants and businesses therein, but not necessarily

   limited to the allegations in Paragraph 21 of this Complaint. Plaintiff has reasonable grounds to

   believe that he will continue to be subjected to discrimination at the Commercial Property and the

   businesses located within the Commercial Property, in violation of the ADA. Plaintiff desires to

   visit the Commercial Property and businesses located within the Commercial Property, not only

   to avail himself of the goods and services available at this Commercial Property and businesses

   therein, but to assure himself that the property and businesses therein are in compliance with the



                                                    4
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 5 of 12




   ADA, so that he and others similarly situated will have full and equal enjoyment of the property

   and businesses therein without fear of discrimination.

            19.        Defendant, WETHERLY INVESTMENTS LLC, as landlord and owner of the

   Commercial Property, is responsible for all ADA violations listed in Count I. Defendant has

   discriminated against the individual Plaintiff by denying him access to, and full and equal

   enjoyment of, the goods, services, facilities, privileges, advantages and/or accommodations of the

   Commercial Property and other businesses located within the Commercial Property, as prohibited

   by 42 U.S.C. § 12182 et seq.

                                          COUNT I
                               AS TO WETHERLY INVESTMENTS LLC

            20.        The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

   through 19 above as though fully set forth herein.

            21.      Defendant, WETHERLY INVESTMENTS LLC, has discriminated, and continues

   to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

   facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

   gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

   visit to the Commercial Property, include but are not limited to, the following:

      A. Parking and Exterior Accessible Route

      i.          Accessible spaces lack compliant aisles, they are 0” (< 60” wide) impeding Carlos Brito

                  from unloading and violating the ADAAG and ADAS Section 502.

      ii.         Accessible spaces lack compliant aisles, they are 0” (< 60” wide) impeding Carlos Brito

                  from unloading and violating the ADAAG and ADAS Section 502.




                                                       5
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 6 of 12




      iii.   Accessible spaces lack clear and level aisles, they have slopes or cross slope of 3%

             (>2%) endangering Carlos Brito when unloading and violating the ADAAG and ADAS

             Section 502.

      iv.    Accessible spaces lack clear and level aisles, they have slopes or cross slope of 5%

             (>2%) endangering Carlos Brito when unloading and violating the ADAAG and ADAS

             Section 502.

      v.     Accessible spaces lack clear and level aisles, they have slopes or cross slope of 3%

             (>2%) endangering Carlos Brito when unloading and violating the ADAAG and ADAS

             Section 502.

      vi.    Carlos Brito was unable to find signs posted at insufficient heights of < 60” AFF (<

             60” AFF) violating ADAAG Section 4.6 and ADAS Section 502.

      B. Entrance Access and Path of Travel

      i.     There is no compliant route from transit, sidewalk, and parking areas for Carlos Brito
             to access Crossroads at Citadel which violates the requirements in Sections 4.1.2 and
             4.3 of the ADAAG and 2010 ADAS Sections 402, 403, 405 and 406.
      ii.    Accessible routes at Crossroads at Citadel have 5% cross slopes (>2%) creating
             hazardous conditions for Carlos Brito in violation of ADAAG Section 4.3 and Sections
             402 and 403 of the 2010 ADAS.
      iii.   Accessible routes at Crossroads at Citadel have 5% cross slopes (>2%) creating
             hazardous conditions for Carlos Brito in violation of ADAAG Section 4.3 and Sections
             402 and 403 of the 2010 ADAS.
      iv.    Accessible routes at Crossroads at Citadel have 8% cross slopes (>2%) creating
             hazardous conditions for Carlos Brito in violation of ADAAG Section 4.3 and Sections
             402 and 403 of the 2010 ADAS.
      v.     Accessible routes at Crossroads at Citadel have changes in level of (>3/4”) creating
             hazardous conditions for Carlos Brito violating ADAAG Section 4.3 and Sections 402
             and 403 of the 2010 ADAS.


                                                 6
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 7 of 12




      vi.     Accessible routes at Crossroads at Citadel have changes in level of (>3/4”) creating
              hazardous conditions for Carlos Brito violating ADAAG Section 4.3 and Sections 402
              and 403 of the 2010 ADAS.
      vii.    Ramps at Crossroads at Citadel lack compliant landings at top and bottom of each run
              (30” rise max) endangering Carlos Brito and violating the ADAAG and ADAS Section
              405.
      viii.   Ramp surface contains an excessive slope/side slope of 10% (> 8.33%) in violation of
              ADAAG Section 4.8 and Section 405 2010 ADAS.
      ix.     Ramp surface contains an excessive slope/side slope of 12% (> 8.33%) in violation of
              ADAAG Section 4.8 and Section 405 2010 ADAS.
      x.      Ramp surface contains an excessive slope/side slope of 10% (> 8.33%) in violation of
              ADAAG Section 4.8 and Section 405 2010 ADAS.
      xi.     Ramp surface contains an excessive slope/side slope of 8% (> 8.33%) in violation of
              ADAAG Section 4.8 and Section 405 2010 ADAS.
      xii.    Ramp surface contains an excessive slope/side slope of 3% (> 8.33%) in violation of
              ADAAG Section 4.8 and Section 405 2010 ADAS.
      xiii.   Ramp or curb ramp does not provide required edge protection where there is an
              excessive drop-off preventing safe use by Carlos Brito to access Crossroads at Citadel.
              Violating the ADAAG and Section 405.9 of the 2010 ADAS.
      xiv.    Ramp or curb ramp does not provide required edge protection where there is an

              excessive drop-off preventing safe use by Carlos Brito to access Crossroads at Citadel.

              Violating the ADAAG and Section 405.9 of the 2010 ADAS.

   Boston Market

      C. Access to Goods and Services

      i.      Table-top and writing surface heights are > 34” (28” min / 34” max), preventing use

              by Carlos Brito, violating 2010 ADAS.

      ii.     Table knee and toe space is , high (27” min) and deep (17” min), preventing use by

              Carlos Brito.


                                                   7
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 8 of 12




      iii.   Table knee and toe space is , high (27” min) and deep (17” min), preventing use by

             Carlos Brito.

      D. Restrooms

      i.     Carlos Brito is unable to reach Dispenser controls (48” AFF max), which exceed limits

             in ADAAG and 2010 ADAS Sec. 308.

      ii.    Stall door is not self-closing and/or lacks proper hardware, preventing use by Carlos

             Brito, violating 2010 ADAS Sec. 604.

      iii.   Grab bars Top of gripping surface < 34 AFF do not comply with the ADAAG and 2010

             ADAS Sections 604 and 609, creating a hazardous condition for Carlos Brito.

      iv.    Toilet paper dispenser is mounted at (7”-9” in front of seat), creating hazard for Carlos

             Brito, violating 2010 ADAS.

      v.     Toilet has improper centerline > 18” from side wall; (16” to 18”), denying access to

             Carlos Brito, violating the 2010 ADAS.

   Sofia’s Antojitos

      E. Access to Goods and Services

      i.     Table-top and writing surface heights are > 34” (28” min / 34” max), preventing use

             by Carlos Brito, violating 2010 ADAS.

      ii.    Table knee and toe space is, high (27” min) and deep (17” min), preventing use by

             Carlos Brito.

      F. Restrooms

      i.     Sink knee clearance (27” min @ 8” deep) prevents Carlos Brito from accessing sink,

             which violates ADAAG and 2010 ADAS Sec. 306.




                                                   8
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 9 of 12




      ii.          Sinks lack proper controls or insulation required preventing Carlos Brito from using

                   controls, as noted in the ADAAG and 2010 ADAS Sec. 306.

      iii.         Grab bars Rear bar < 36” do not comply with the ADAAG and 2010 ADAS Sections

                   604 and 609, creating a hazardous condition for Carlos Brito.

      iv.          Grab bars Side bar extends < 54” from rear wall do not comply with the ADAAG and

                   2010 ADAS Sections 604 and 609, creating a hazardous condition for Carlos Brito.

      v.           Mounted items 4” above grab bar (12” min), prevent use by Carlos Brito, violating the

                   ADAAG and 2010 ADAS.

   Shamrock Food Service Warehouse

      G. Restrooms

      i.           Stall door is not self-closing and/or lacks proper hardware, preventing use by Carlos

                   Brito, violating 2010 ADAS Sec. 604.

      ii.          Toilet has improper centerline > 18” from side wall; (16” to 18”), denying access to

                   Carlos Brito, violating the 2010 ADAS.

                                    RELIEF SOUGHT AND THE BASIS

             22.      The discriminatory violations described in Paragraphs 21 are not an exclusive list

   of the Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s place of

   public accommodation in order to photograph and measure all of the discriminatory acts violating

   the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

   requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

   presence, which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and equal

   enjoyment of the Commercial Property and other businesses therein; Plaintiff requests to be

   physically present at such inspection in conjunction with Rule 34 and timely notice.



                                                       9
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 10 of 12




          23.       The individual Plaintiff, and all other individuals similarly situated, have been

   denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs and activities offered by Defendant’s Commercial Property and

   other businesses within the Commercial Property; and has otherwise been discriminated against

   and damaged by the Defendant because of Defendant’s ADA violations as set forth above. The

   individual Plaintiff, and all others similarly situated, will continue to suffer such discrimination,

   injury and damage without the immediate relief provided by the ADA as requested herein. In order

   to remedy this discriminatory situation, the Plaintiff requires an inspection of the Defendant’s

   places of public accommodation in order to determine all of the areas of non-compliance with the

   Americans with Disabilities Act.

          24.        Defendant has discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of their places of public accommodation or commercial facility, in violation of

   42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

          25.        Plaintiff is without adequate remedy at law, will suffer irreparable harm, and have

   a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

   all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is



                                                     10
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 11 of 12




   entitled to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42

   U.S.C. § 12205 and 28 CFR 36.505.

          26.       While Defendant, WETHERLY INVESTMENTS LLC, as landlord and owner

   of the Commercial Property Business, is primarily responsible for all ADA violations listed in this

   Complaint, tenants and landlords can be held is jointly and severally liable for ADA violations.

          27.       A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public similarly

   situated, will continue to suffer such discrimination, injury and damage without the immediate

   relief provided by the ADA as requested herein. In order to remedy this discriminatory situation,

   the Plaintiff require an inspection of the Defendant’s place of public accommodation in order to

   determine all of the areas of non-compliance with the Americans with Disabilities Act.

          28.       Notice to Defendant is not required as a result of the Defendant’s failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendant.

          29.       Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendant operates its

   businesses, located within the Commercial Property located in Colorado Springs, Colorado, the

   interiors, exterior areas, and the common exterior areas of the Commercial Property and businesses

   to make those facilities readily accessible and useable to the Plaintiff and all other mobility-

   impaired persons; or by closing the facility until such time as the Defendant cures its violations of

   the ADA.

          WHEREFORE, the Plaintiff, CARLOS BRITO, respectfully requests that this Honorable



                                                    11
Case No. 1:22-cv-00588-CMA-MDB Document 1 filed 03/09/22 USDC Colorado pg 12 of 12




   Court issue (i) a Declaratory Judgment determining Defendant, at the commencement of the

   subject lawsuit, were and are in violation of Title III of the Americans with Disabilities Act, 42

   U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendant, including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendant

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.

   Dated: March 9, 2022


                                                    GARCIA-MENOCAL & PEREZ, P.L.
                                                    Attorneys for Plaintiff
                                                    1600 Broadway, Suite 1600
                                                    Denver, CO 80202
                                                    Telephone: (720) 996-3500
                                                    Facsimile: (720) 381-0515
                                                    Primary E-Mail: ajperez@lawgmp.com
                                                    Secondary E-Mail: dperaza@lawgmp.com
                                                    bvirues@lawgmp.com.

                                                    By:      /s/ Anthony J. Perez
                                                          ANTHONY J. PEREZ
                                                          BEVERLY VIRUES




                                                    12
